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1. An excessive accumulation of clutter was present throughout the visitor building,
including the enclosure holding the macaque. Unused equipment was stored
haphazardly, bags of dog food were present and use status was questionable.

2. Excessive clutter was around the entry to the basement which held several species
of primates.

b) January 5, 2006 — the feed storage area had an excessive build-up of clutter under the
table where the feed was stored. This included chemicals, paints, and other toxic items.
There was also a large accumulation of open bags of feed and other trash in this area.
This clutter contributed to a significant rodent population that was clearly visible.
(Inspection id 204500)

. Failure to construct and maintain surfaces in a manner that can be readily cleaned and
sanitized. 9 C.F.R. § 3.75(c)
a) January 5, 2006 — the following items were cited (inspection 1d 204500):

1. The enclosures holding a number of primates had an excessive amount of feces
and material build-up on the surfaces, including perches.

2. There were wall areas in the enclosure holding the squirrel monkey that were
damaged and missing plaster, there were also areas of wood that were missing
paint and a large amount of untreated structural wood surfaces in the enclosures
holding lemurs and capuchins.

. Failure to store supplies of food and bedding in a manner that protects the supplies
from spoilage, contamination, and vermin infestation. 9 C.F.R. § 3.75(e)
a) April 25, 2013 —a bag of leaf eater diet was loosely closed and placed on top of an

airtight food receptacle, thus not minimizing the potential for contamination. (Inspection
id 135131025340684)
b) January 5, 2006 — the following items were cited (inspection id 204500):
1. Feed for squirrel monkeys was stored in an extremely dirty container.
2. The feed storage area contained various chemicals including paint and other
items.
3. The kitchen area contained a refrigerator contained uncovered produce for the
primates. The freezer portion contained a dead guinea pig and a pheasant, both
were unwrapped with a pool of blood.

. Failure to provide sufficient drainage and waste disposal. 9 C.F.R. § 3.75(e)
a) January 5, 2006 — there was a wheel barrow full of feces and other waste directly outside

the door of the building holding squirrel monkeys. The general feed area had a large
accumulation of open garbage bags sitting in the area. (Inspection id 204500)

. Failure to provide ample lighting as appropriate for the species involved. 9 C.F.R. §
3.76(c)

a) February 14, 2006 - the enclosure holding the young lemur was dark. (Inspection id
204519)

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. Failure to provide adequate sheltered holding facilities that provides sufficient heat or

cooling when necessary to protect primates from temperature extremes. 9 C.F.R. §

3.77(a)

a) January 27, 2014 — the temperature in the building holding the snow macaque fell below
45 degrees as was indicated by frozen water in the drinking receptacle. (Inspection id
27141441356505)

. Failure to have a perimeter fence sufficient to keep unwanted species and unauthorized
persons from entering the premises, and to prevent physical contact between animals
inside the enclosure and outside the perimeter fence. 9 C.F.R. § 3.77(f)

a) January 27, 2014 — though the facility was closed at the time of inspection, the entrance

gates were open and the entry gate to the petting zoo area was not secured. The inspectors
stood inside the entry way without being greeted for three minutes before spotting
authorized persons coming from the food preparation area. (Inspection id
27141441356505)

. Failure to provide primary enclosures constructed and maintained so that they protect
primates from injury. 9 C.F.R. § 3.80(a)(2)(ii)
a) September 26, 2007 — on December 8, 2006, the pigtail macaque was found dead in the

enclosure holding him. Though no necropsy was performed the zoo owner and
veterinarian theorized that he had been electrocuted as evidence by a partially chewed
and unplugged heat lamp cord. (Inspection id 204801)

Failure to provide the minimum space that must be provided to each primate. 9 C.F.R.

§ 3.80(b)(2)

a) February 14, 2006 - The enclosure holding the juvenile lemur was not large enough to
allow him to comfortably turn and make other postural adjustments. (Inspection id
204519)

b) January 5, 2006 — two large macaques were each held in enclosures 28" deep by 24.5"
wide by 64" height, or approximately 4.76 square feet. The monkeys did not have
sufficient space to comfortably turn and make other normal postural adjustments.

Failure to provide environment enhancement to promote psychological well-being. 9
C.F.R. § 3.81
a) November 6, 2014 — there was no environmental enrichment plan for the marmoset that

was held in a room with no other animals and was unable to hear or see other primates.
(Inspection id 329141957090458)

b) August 3, 2009 — the current primate enrichment plan did not address the needs of the
singly housed squirrel monkey and a lemur who were unable to see or hear any other
primates. (Inspection id 215092110000416).

c) May 17, 2006 — the environment enrichment plan did not contain provisions for the
singly housed lemur. This is a repeat citation. (Inspection id 204578)

d) February 14, 2006 — at this time none of the primates had a fully complete written plan
for environmental enhancement and enrichment. This is a repeat citation. (Inspection id
204519)

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e) January 5, 2006 — at this time none of the primates had a fully complete written plan for
environmental enhancement and enrichment. This is a repeat citation. (Inspection id
204500)

f) September 28, 2005 — the primate environmental enrichment plan did not address the
special needs of the singly housed capuchin, pigtail, and rhesus macaque. (Inspection id
204460)

Failure to properly clean and sanitize primary enclosures and premises where housing
facilities are located. Failure to provide safe and effective pest control. 9 C.F.R. § 3.84
a) February 14, 2006 — the following items were cited, these were repeat citations

(inspection 1d 204519):

1. The enclosures holding a number of primates had an excessive amount of feces
and material build-up on the surfaces, including perches.

2. Excreta and food waste was present under the enclosure holding the pigtail
macaque.

3. There was no indication that the cage holding the Macaque was sanitized every
two weeks.

The floor in the kitchen was extremely dirty.

5. The basement of visitor building which held primates was in poor repair. There
were deep holes in the wall and at base of door from outside that could allow
entry of vermin.

b) January 5, 2006 — the following items were cited (inspection id 204500):

1. The cages holding Macaque monkeys had a build-up of dirt and debris.

2. The kitchen area required that the bare untreated wood surfaces to be treated in
order to be readily cleaned. The basement building was in poor repair, there were
deep holes in the wall and door that would permit entry of vermin.

. Failure to have enough employees properly trained to provide sufficient care to
primates. 9 C.F.R. § 3.85
a) September 26, 2007 — the caretaker failed to notice that a pigtail macaque had access to

the heat lamp cord, possibly resulting in the death of the pigtail macaque who was found
dead in the enclosure holding him on December 8, 2006. The supervisor also failed to
properly check on the work of the caretaker. (Inspection id 204801)

b) February 14, 2006 — there was an insufficient number of adequately trained employees
available to meet the needs of the primates. New or inexperienced employees were
working alone on some days of the week. This was a repeat citation. (Inspection id
204519)

c) January 5, 2006 — There was an insufficient number of people to adequately meet the
needs of the number and variety of the animals. There was no evidence that all the
employees met the requirements to properly care for these animals. (Inspection id
204500)

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SPECIFICATIONS FOR THE HUMANE HANDLING, CARE, TREATMENT, AND
TRANSPORTATION OF WARM-BLOODED ANIMALS OTHER THAN DOGS, CATS,
RABBITS, HAMSTERS, GUINEA PIGS, PRIMATES, AND MARINE MAMMALS

A. Failure to provide structurally sound holding and maintain in good repair to protect the
animals from injury and to contain them. 9 C.F.R. § 3.125(a)
a) November 6, 2014 — the board fencing for the animals used in a petting zoo was

excessively worn and portions of the fence were leaning. One section of the pen had a
partially broken post. (Inspection id 329141957090458)

b) April 25, 2013 — the overhang to protect animals and shelter the structure from water
damage in the enclosure used to hold bobcats was partially detached. (Inspection id
135131025340684)

c) July 3, 2012 — the dividing fence between two enclosures holding tigers did not have a
kick-in or substantial overhang which 1s necessary to contain adult tigers. (Inspection id
187121043 160346)

d) March 2, 2012 — the following items were cited, this was a repeat citation (inspection id
67120812500143):

1. The enclosure holding lions was made of a collection of wire panels and chain
link tied together that may not adequately contain the animals.

2. The dividing fence between two enclosures holding tigers did not have a kick-in
or substantial overhang which is necessary to contain adult tigers.

3. A ledge in the enclosure holding Siberian tigers was wide enough to allow a tiger
to gain footing and thus did not restrict their ability to leap out of the enclosure.

e) October 6, 2011 - the following items were cited, this was a repeat citation (inspection id
280110901580140):

1. The enclosure holding lions was made of a collection of wire panels and chain
link tied together that may not adequately contain the animals.

2. The dividing fence between two enclosures holding tigers did not have a kick-in
or substantial overhang which 1s necessary to contain adult tigers.

3. A ledge in the enclosure holding Siberian tigers was wide enough to allow a tiger
to gain footing and thus did not restrict their ability to leap out of the enclosure.

f) June 9, 2011 - the following items were cited, this was a repeat citation (inspection id
160110044300042):

1. The enclosure holding lions was made of a collection of wire panels and chain
link tied together that may not adequately contain the animals.

2. The dividing fence between two enclosures holding tigers did not have a kick-in
or substantial overhang which 1s necessary to contain adult tigers.

3. A ledge in the enclosure holding Siberian tigers was wide enough to allow a tiger
to gain footing and thus did not restrict their ability to leap out of the enclosure.

g) February 10, 2011 - the following items were cited, this was a repeat citation (Inspection
id 45111706520343):

h) The enclosure holding lions was made of a collection of wire panels and chain link tied
together that may not adequately contain the animals.

i) The dividing fence between two enclosures holding tigers did not have a kick-in or
substantial overhang which 1s necessary to contain adult tigers.

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j) A ledge in the enclosure holding Siberian tigers was wide enough to allow a tiger to gain
footing and thus did not restrict their ability to leap out of the enclosure.

k) September 29, 2010 - the following items were cited, this was a repeat citation
(Inspection id 278101220550091):

1) An enclosure was made of a collection of wire panels and chain link tied together that
may not adequately contain the animals.

m) The dividing fence between two enclosures holding tigers did not have a kick-in or
substantial overhang which is necessary to contain adult tigers.

n) A ledge in the enclosure holding Siberian tigers was wide enough to allow a tiger to gain
footing and thus did not restrict their ability to leap out of the enclosure.

0) May 19, 2010 - the following items were cited, this was a repeat citation (Inspection id
139101342370101):

I. Anenclosure was made of a collection of wire panels and chain link tied together
that may not adequately contain the animals.

2. There was a tree in the enclosure holding the young tiger that reached past the
top of the enclosure through the netting, making it possible for a tiger to escape
the enclosure.

p) November 20, 2009 - An enclosure was made of a collection of wire panels and chain
link tied together that may not adequately contain the animals. This was a repeat citation.
(Inspection id 3240909 19230950)

q) August 3, 2009 — the enclosure holding a lion had areas that were not adequately
secured. (Inspection id 215092110000416)°

t) March 11, 2009 - the following items were cited (inspection id 71090147240582):

1. The enclosure fencing for the enclosure holding farmed animals had warped
boards and some of the fencing was leaning forward.

2. The barrier fence for the enclosure holding the female cougar was loose.

s) September 26, 2007 — the enclosure holding the young lion was constructed with treated
wood and small gauge wire which was not of sufficient strength to effectively contain
him. (Inspection id 204801)

t) May 23, 2007 — the pen holding llamas and goats had wire fencing detached from the
wood on the bottom in some areas, one section of the wire fencing was also damaged to
the point that the bottom half had sharp edges. (Inspection id 204730)

u) November 29, 2006 - the pen holding llamas and goats had wire fencing detached from
the wood on the bottom in most areas, some parts of the bottom edges are bent leaving
sharp edges. (Inspection id 204661)

v) May 17, 2006 — the following items were cited (inspection 1d 204578):

I. The cage holding the lion had several areas that were very insecure including
hog panels that were not attached to the bottom or side supporting posts and they
were not buried into the ground.

2. The back room of the house holding reptiles had a couple of cracks in the walls.

w) February 14, 2006 — the following items were cited, these were repeat citations
(inspection id 204519):

 

* The USDA Decision and Order stated a September 30, 2009 inspection date. The August 3, 2009 inspection
appears to be the only one during that time period and has this citation.

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1. The cage holding the lion had several areas that were very insecure including hog
panels that were not attached to the bottom or side supporting posts and they were
not buried into the ground.

2. The enclosure holding a tiger had fencing that was not secure at the bottom left
corner where a large rock is located. The hog panels making up the nght side of
the enclosure was not adequately attached and presented a point of escape if the
smaller gauge fencing became broken or detached.

3. An enclosure holding three llamas and one goat permitted them to roam the zoo
as four panels of the fence were entirely missing. With the poor condition of the
perimeter fence these animals could be found roaming the road.

4. On September 28, 2005 two arctic foxes were moved into an enclosure outside of
the perimeter fence. The animals escaped and efforts to recapture them had been
unsuccessful.

x) January 9, 2006 - On September 28, 2005 two arctic foxes were moved into an enclosure
outside of the perimeter fence. The animals escaped and efforts to recapture them had
been unsuccessful. (Inspection 1d 204502)

y) January 5, 2006 — the following items were cited (inspection id 204500}:

1. The cage holding lions had several areas that were very insecure, there was bent
loose broken gauge wire and some of the lower half of the pen was chain link that
in some places did not attach at the bottom to anything solid. The fence by this
shelter was barely 6 feet tall.

2. The cage holding tigers had 14 gauge wire, though the facility was beginning to
cover it with heavier paneling it still was not attached to the fence posts except by
some bent nails. The tigers could easily have entered the visitor center at that
time.

3. An enclosure holding three llamas and one goat permitted them to roam the zoo
as four panels of the fence were entirely missing. With the poor condition of the
perimeter fence these animals could be found roaming the road.

B. Failure to store food and bedding in facilities which adequately protect such supplies
against deterioration, molding, or contamination by vermin. 9 C.F.R. § 3.125(c)
a) February 14, 2006 -the following items were cited (inspection id 204519):

1. An open barrel of animal bones was sitting in the middle of the kitchen floor,
there was a moderate odor.

2. One unused or turned off refrigerator was dirty and had a bag of an unknown
substance in the bottom. Another refrigerator for storing fruit was dirty.

3. Uncovered bone scraps were kept in a freezer with other packages of meat.

4. A large uncovered plastic container full of unknown foodstuff was sitting in the
visitor building storage.

5. Feed was stored on a wooden table in the feed storage building. There was a hole
in a bag of hog feed and a mouse (or mice) could be heard scurrying inside. Some
of the feed had spilled out onto another bag of feed. Rodent feces was present
between the bag of hog feed and horse feed.

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b) January 5, 2006 — the meat freezers were filthy. The one still containing chicken
contained blood, broken packages and other debris at the bottom of the freezer. The other
chest freezer reeked from decaying meat as there were two thawed deer nb cages rotting
in the bottom of it. (Inspection if 204500)

. Failure to provide the removal and disposal of animal wastes. 9 C.F.R. § 3.125(d)
a) November 20, 2009 — the pool in the enclosure holding the young tiger was greenish

brown in color due to excreta and mulch that had been kicked into the pool. (Inspection
id 324090919230950)

b) August 3, 2009 — the small pool in the enclosure holding the older tiger had excessive
amounts of feces and urine which resulted in a brown murky fluid. (Inspection id
215092110000416)

c) June 2, 2008 — the small pool in the enclosure holding two older tigers had an excessive
amount of feces and urine, which a pool of brown murky water. There were also flies
present. (Inspection id 204893)

d) May 17, 2006 — there was an accumulation of bedding and rodent feces under the
primary enclosures holding the fennec fox and agouti. (Inspection id 204578)

. Failure to provide sufficient lighting appropriate for the species involved. 9 C.F.R. §
3.126(c)
a) January 5, 2006 — a number of animals were in areas inadequately lit and the animals

were in need of a regular diurnal light cycle on a day to day basis.

. Failure to provide shelter from sunlight. 9 C.F.R. § 3.127(a)
a) June 2, 2008 — five ferrets were in a temporary exhibit enclosure in direct sunlight.

(Inspection id 204893)
b) September 28, 2005 - The enclosure holding the lion did not have any shade structures.
(Inspection id 204460)

. Failure to provide shelter from inclement weather. 9 C.F.R. § 3.127(b)
a) November 29, 2006 — the following items were cited (inspection 1d 204661):

1. The shelter box in the enclosure holding the Arctic fox had a large hole in the
roof.

2. The roof of the dog house used for shelter in the enclosure holding the Japanese
Macaque was cracked.

b) February 14, 2006 — the tigers and cougars didn't have adequate shelter for winter
temperatures and conditions. The enclosures that held them only consisted of two solid
sides. (Inspection id 204519)

c) January 5, 2006 — the tigers did not have adequate shelter for the ambient temperature.
They were provided with a roof without any sides. (Inspection id 204500)

. Failure to provide a suitable method to rapidly eliminate excess water. 9 C.F.R. §
3.127(c)
a) May 17, 2006 — the ground in the pen holding pigs was damp to the right front of pen and

there was a mucky area on the right side of shelter which was mixed with feces and mud.

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b)

The drainage pool had a small amount of a green material floating on top of the water.
This was a repeat citation. (Inspection id 204578)

February 14, 2006 — the facility was one giant puddle and few if any of the hoofstock had
a truly dry area to lie down. The pen that held three [lamas and a goat had water standing
in one area in the center of the pen. Pens holding sheep, pot belly pigs, and goats were
equally disastrous. All were a mix of mud and accumulated feces with little if any space
to lie down. (Inspection id 204519)

January 5, 2006 - the facility was one giant puddle and few if any of the hoofstock had a
truly dry area to lie down. The pen that held three llamas and a goat had water standing
even in the shelter, the salt block was sitting in a mud and feces mix. Pens holding sheep,
pot belly pigs, and goats were equally disastrous. All were a mix of mud and accumulated
feces with little if any space to lie down. (Inspection id 204500)

. Failure to provide a sufficient perimeter fence to keep animals protected from
unauthorized persons or animals from entering premises and to act as a second
containment system for the animals at the facility. 9 C.F.R. § 3.127(d)

a)

b)

d)

g)

h)

November 6, 2014 — though the facility was closed at the time of this inspection three
persons were able to gain entry and walk to the back of property without being noticed.
This was a repeat citation. (Inspection 1d 329141957090458)

August 21, 2013 — the chicken wire at the top perimeter fence along the front of the
property was rusty and detached in one section. There was also a tree close to one section
that had branches pushing down on the barb wire and chicken wire at the top of fence.
(Inspection id 232132344534985)

August 3, 2009 — the perimeter fence along the nght side of the enclosure holding a lion
was leaning outward. (Inspection id 215092110000416)

September 26, 2007 — the following items were cited (inspection id 204801):

1. There was a loose board at the top and a damaged board at the bottom of the
resting platform and shelter used by the cougar.

2. The back wall the enclosure holding the young tiger was not within the existing
perimeter fence. The enclosure holding the coatimundi was located outside of the
perimeter fence.

September 7, 2006 - temporary enclosure holding the serval had a 3 foot section of the
back part that was not inside the perimeter fence. (Inspection id 204624)

February 14, 2006 — there were multiple areas where the perimeter fence was
deteriorating and in need of repair. (Inspection id 204519)

January 9, 2006 - On September 28, 2005 two arctic foxes were moved into an enclosure
outside of the perimeter fence. The animals escaped and efforts to recapture them had
been unsuccessful. (Inspection 1d 204502)

January 5, 2006 — the following items were cited (inspection 1d 204500):

1. One section of the perimeter fence was being used as the back wall of the
enclosure holding two tigers — this was the lock down area and the section that
contained shelter. The enclosure holding a mountain lion was directly against the
wood and 14 gauge wire extension of the perimeter fence facing the public access
road. Both presented a clear risk of contact with other animals or the public.

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2. There were multiple areas where the perimeter fence was deteriorating and in
need of repair.
i) September 28, 2005 — the two brown huts that serve as primary enclosures for two arctic
foxes and one coatimundi was not surrounded by a perimeter fence. (Inspection id
204460)

Failure to provide food that is wholesome, palatable, and free from contamination. 9
C.F.R. § 3.129(a)
a) September 3, 2008 — miscellaneous chemicals were being stored on a table in the hay

storage building. (Inspection id 204939)

b) June 2, 2008 — there was a partial carcass in the enclosure holding the lion that was from
a feeding two days prior. There were also bones in the enclosure holding an adult tiger
from a feeding three days prior. (Inspection id 204893)

c) February 14, 2006 — the following were cited, these were repeat citations (inspection id
204519):

1. None of the big cat diets had been signed off on and approved by the facility
veterinarian. There was concern about the quantity of chicken vs red meat that
was being fed.

2. Feed was stored on a wooden table in the feed storage building. There was a hole
in a bag of hog feed and a mouse (or mice) could be heard scurrying inside. Some
of the feed had spilled out onto another bag of feed. Rodent feces was present
between the bag of hog feed and horse feed.

3. Anew bale of hay had been delivered and stored directly on the ground and some
areas of the bales had a dark discoloration indicative of mold or spoilage.

d) January 5, 2006 — there was a salt block for the 3 llamas and one goat lying in the mud.
Also none of the big cat diets had been signed off on and approved by the facility
veterinarian. There was concern about the quantity of chicken vs red meat that was being
fed. (Inspection id 204500)

Failure to provide clean and sanitary food receptacles. 9 C.F.R. § 3.129(b)
a) September 3, 2008 — the kitchen refrigerators were disorganized and had some build-up

of material. (Inspection id 204939)

Failure to provide clean and sanitary water receptacles. 9 C.F.R. § 3.130
a) November 20, 2009 — the drinking water provided the lion was greenish in color.

(Inspection id 324090919230950)
b) February 14, 2006 — dirty drinking water was in the bowl on the floor of the enclosure
holding guinea pigs. (Inspection 1d 204519)

. Failure to remove excreta from primary enclosures as often as necessary to prevent

contamination of the animals contained therein and to minimize disease hazards and to

reduce odors. 9 C.F.R. § 3.131(a)

a) Apmil 24, 2014 — the litter pan used by one of the kinkajous had a buildup of food,
excreta, urine, and debris. (Inspection id 113140815446736)

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b) October 6, 2011 — there was a buildup of a brown material on the upper wall near the
perch used by the kinkajou. (Inspection id 280110901580140)

c) August 3, 2009 — there were excessive amounts of feces (some dried) in the enclosures
holding goats and pigs, servals, and bobcats. (Inspection id 215092110000416)

d) February 14, 2006 — the following items were cited, these were repeat citations
(inspection 1d 204519):

1. The outdoor livestock pens were a mix of feces and mud. All the enclosures in
the house holding reptiles which also held mammals had an excessive amount of
feces. Feces from the roaming avian species were everywhere in the areas that the
public and inspectors traversed.

2. The small mammals kept in the house holding reptiles were housed on
indoor/outdoor carpeting placed on top of unsealed wood. The odor was strong
from the build-up of urine.

3. The enclosure holding caracals had cobwebs and had an excessively dirty floor
and carrier/perch.

M. Failure to properly sanitize enclosures. 9 C.F.R. § 3.131(b)
a) September 14, 2012 — the enclosure holding structures used for skunks was moderately

soiled and the ground had an excessive amount of food and waste present, also there were
many flies present. (Inspection 1d 258121438230694)

b) July 3, 2012 — the following items had conditions making it impossible to properly
sanitize (inspection id 187121043 160346):

1. The concrete surface of the floor of the outside enclosure holding the white tiger
had cracks in the cement.

2. The concrete surface of the floor of the enclosure holding young Siberian tigers
had cracks in the cement.

3. Along the bottom of the ledge on the left wall of the enclosure holding older
Siberian tigers the concrete surface was damaged in some areas exposing the
pebbled layer.

c) March 2, 2012 — the following items had conditions making it impossible to properly
sanitize, this is a repeat citation (inspection id 67120812500143):

1. The concrete surface of the floor of the outside enclosure holding the white tiger
had cracks in the cement.

2. The concrete surface of the floor of the enclosure holding young Siberian tigers
had cracks in the cement.

3. Along the bottom of the ledge on the left wall of the enclosure holding older
Siberian tigers the concrete surface was damaged in some areas exposing the
pebbled layer.

d) October 6, 2011 — the following items had conditions making it impossible to properly
sanitize, this is a repeat citation (inspection id 2801 10901580140):

1. The concrete surface of the floor of the outside enclosure holding the white tiger
had cracks in the cement.

2. The concrete surface of the floor of the enclosure holding young Siberian tigers
had cracks in the cement.

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3. Along the bottom of the ledge on the left wall of the enclosure holding older
Siberian tigers the concrete surface was damaged in some areas exposing the
pebbled layer.

e) June 9, 2011 -— the following items had conditions making it impossible to properly
sanitize, this is a repeat citation (inspection id 160110044300042):

1. The concrete surface of the floor of the outside enclosure holding the white tiger
had cracks in the cement.

2. The concrete surface of the floor of the enclosure holding young Siberian tigers
had cracks in the cement.

3. Along the bottom of the ledge on the left wall of the enclosure holding older
Siberian tigers the concrete surface was damaged in some areas exposing the
pebbled layer.

f) February 10, 2011 -— the following items had conditions making it impossible to
properly sanitize, this is a repeat citation (inspection id 45111706520343):

1. The lower end of the enclosure holding the white tiger had concrete that was
cracked and crumbling.

2. Along the bottom of the ledge on the left wall of the enclosure holding older
Siberian tigers there was crumbling.

g) September 29, 2010 - — the following items had conditions making it impossible to
properly sanitize (inspection 1d 278101220550091):

1. The lower end of the enclosure holding the white tiger had concrete that was
cracked and crumbling.

2. Along the bottom of the ledge on the left wall of the enclosure holding older
Siberian tigers there was crumbling.

h) January 5, 2006 — the outdoor pens holding livestock were a mix of feces and mud. Feces
from hoofstock and roaming avian species were everywhere the public and inspectors
traversed. The enclosure holding the arctic fox was excessively dirty. (Inspection id
204500)

. Failure to keep premises clean and in good repair in order to protect the animals from
injury and to facilitate prescribed husbandry practices. 9 C.F.R. § 3.131(c)
a) November 6, 2014 — the following items were cited as (inspection id 329141957090458):

1. The fibers of the outdoor rug in kitchen were sufficiently worn and could no
longer be cleaned and sanitized sufficiently.
2. A portion of the primary fence for the young tigers was moveable and unable to
sufficiently contain the animals in the event of an escape.
b) January 27, 2014 —in the storage room there were open bags of feed and an excessive
amount of feed spilled on the floor and shelves. (Inspection id 27141441356505)
c) September 14, 2012 — the following items were cited (inspection 1d 258121438230694):
1. The board fencing in the petting area was showing wear, some of the top support
boards were warped, a few other boards were detached at one end, and some of
the boards were worn from excessive chewing by animals. The divider fence
between the enclosures for llamas and sheep was leaning outward.

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2. There were two 3" holes in the concrete floor of the off-exhibit used by the white
tiger.

d) November 2, 2011 — there was an accumulation of building material in the off-exhibit
area for mountain lions and tigers. (Inspection id 306111239510127)

e) August 3, 2009 — there was an accumulation of trash, unused equipment, and food waste
stored outside the building holding birds. (Inspection id 215092110000416)

f) February 14, 2006 — the following items were cited (inspection id 204519):

1. The visitor building was in need of a thorough cleaning to include taking
measures to prevent strong odors. There was a large collection of bedding and
bird and lizard food and feces under and around some of the cages.

2. The floor was excessively dirty and surface was not sealed in many areas of the
kitchen. Food debris had accumulated under the cutting boards. Several ceiling
tiles were missing or down over the food prep area exposing the insulation.

3. Clutter was present in areas near the pen holding a bobcat and the entry to the
basement building which held animals.

g) January 5, 2006 - The visitor building was in need of a thorough cleaning. There was a
large collection of bedding under some of the cages. (Inspection id 204500)
h) September 28, 2005 — the following items were cited (inspection 1d 204460):

1. The enclosure holding squirrel monkeys had a cracked glass.

2. Equipment, building materials, and other items were haphazardly located just
outside of the main entrance of the visitor building, next to the enclosure holding
the coati and cougar cub.

3. The wire fence behind the wood plank fencing of the pen holding llamas and
goats had large openings due to missing wire. Also the fencing at the bottom of
one pen became detached creating openings and areas for escape.

4. An area around the recessed light in the ceiling of the visitor building holding the
large bird area, which was also in close proximity to the guinea pigs, was
damaged with exposed insulation.

O. Failure to establish and maintain a safe and effective pest control program. 9 C.F.R. §
3.131(d)
a) November 2, 2011 — many roaches were seen on the viewing window of the off-exhibit

entry door for the kinkajou. (Inspection id 306111239510127)

b) September 29, 2010 — one live mouse was seen running into one of two rodent holes
within the enclosure holding a lemur. (Inspection id 278 10122055009 1)

c) June 2, 2008 — the following items were cited (inspection id 204893):

1. The building holding the binturong held unused equipment (empty kerosene can,
propane gas cylinders, extra plastic fencing, and miscellaneous tools) haphazardly
stored in the building.

2. The enclosure holding three young tigers had a mouse trap located outside of the
enclosure and barrier fence with a dried up animal in the trap. Two rodent size
holes were present between the barrier and enclosure fence and one live rat was
seen running across the enclosure into one of the holes.

d) May 23, 2007 — the following items were cited (inspection 1d 204730):

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1. There was a build-up mixture of dirt, excreta, and hair along the bottom front
edge of the enclosure holding a tiger.

2. Flies were present in the house containing reptiles and several off-exhibit/shelter
areas.

e) November 29, 2006 — the following items were cited (inspection id 204661):

1. The enclosures holding bobcats, lions, tigers, and llamas had an excessive
amount of feces and food wastes.

2. The roof of the dog house used for shelter in the enclosures holding the Japanese
Macaque had a cracked roof which created a sharp edge.

f) May 17, 2006 — a mouse was seen outside the enclosure holding the binturong. This was
a repeat citation. (Inspection id 204578)
g) February 14, 2006 — the following items were cited (inspection id 204519):

1. An excessive amount of rodent feces was present in the kitchen near the exit
door.

2. The visitor building smelled of rodents.

3. The food storage facility had a bag of hog feed with a hole in it and a mouse (or
mice) could be heard scurrying inside. Some of the feed had spilled out onto
another bag of feed. Rodent feces was present between the bag of hog feed and
the horse feed.

h) January 5, 2006 — there was abundant evidence of rodent activity, there were rodent
holes, plastic feed tubs that had severe damage done to their lids by rodents, and at least
three live mice spotted in the feed storage area. (Inspection id 204500)

P. Failure to provide a sufficient number of adequately trained employees. 9 C.F.R. §
3.132
a) May 17, 2006 — there was no supervisor who had a background in animal care and the

staff was relatively inexperienced in animal care and standard husbandry practices. This
was a repeat citation. (Inspection id 204578)

b) February 14, 2006 — there was an insufficient number of adequately trained employees
available to meet the needs of the widely varied group of animals. New or inexperienced
employees were working alone on some days of the week. This was a repeat citation.
(Inspection id 204519)

c) January 5, 2006 - there was an insufficient number of adequately trained employees
available to meet the needs of the widely varied group of animals. (Inspection id 204500)

VI IDENTIFICATION OF ANIMALS

A. Failure to maintain records documenting complete information regarding the
acquisition and disposition of animals. 9 C.F.R. § 2.50
a) September 26, 2007 — there were no acquisition records for the ferret and the chinchilla,

nor were there disposition records for a goat that was donated and a squirrel monkey.
(Inspection id 204801)

b) January 5, 2006 — capuchin records showed 4 received yet there was only one on the
property with no record as to what happened to the other three. There were records for 6

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goats yet there were 8 on the property. The records for rabbits showed 13 yet there were
14 and the inspectors were advised that 2 new ones had not been added to the records
bringing the total to 15. Records showed 3 guinea pigs yet there were 2 present, 4 pigs
were present but only 3 listed, and there were no records as to where the chinchillas went.
(Inspection id 204500)

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PETA0000920
AN INTERNATIONAL ORGANIZATION DEDICATED TO PROTECTING THE RIGHTS OF ALL ANIMALS

 

February 9, 2015

Elizabeth Goldentyer, D.V.M.
Regional Director
USDA/APHIS/AC Eastern Region

Via e-mail: betty.j.goldentyer@usda.gov

Re: Apparent Animal Welfare Act Violations, Including Dangerous Conditions,
at Tri-State Zoological Park (License No. 51-C-0064)

Dear Dr. Goldentyer:

I am writing on behalf of People for the Ethical Treatment of Animals (PETA) to
request that the U.S. Department of Agriculture (USDA) promptly investigate the
Tri-State Zoological Park (license no. 51-C-0064). The enclosed photographs,
which were taken by visitors to the Tri-State Zoological Park on January 28, 2015,
contain evidence of apparent violations of the Animal Welfare Act (AWA), as
highlighted below.

The visitors reported—and in most instances documented—the following apparent
violations:

e Foxes, bobcats, primates, and several other animals without food or water

e Numerous animals in apparent need of veterinary attention, including a sheep
with a neck injury and a capuchin monkey gnawing on his raw and bleeding
foot

e Animal carcasses that were more than 1 month old and accessible to free-
roaming cats and birds

e Kinkajous who were living in unsanitary and dangerous conditions with
excreta and rotting food filling the bottom of their enclosure

e Untrained volunteers in direct and close contact with adult big cats

Please ensure that the animals at the Tri-State Zoological Park are provided with
adequate veterinary care, enclosure barriers, shelter, and water and otherwise
handled in accordance with the AWA. Please hold the facility fully accountable
for any and all violations that you discover during your investigation. Thank you
for your attention to this important matter. Please inform me of the complaint
number that your agency assigns to this correspondence.

Very truly yours,
AY.) __
LM nbdoa
Delcianna Winders, Esq.
Deputy General Counsel | Captive Animal Law Enforcement

202-309-4697 | DelciannaW@petaf.org

{00181968}

PCTA

FOUNDATION

 

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Appendix
1. Animal Injuries

Capuchin Monkey

Pictures provided by Tri-State Zoological Park ("Tri-State Zoo") visitors show a capuchin monkey
picking at his toes (photos 3-4). According to the visitors, one toe was bloody and raw, and when the
visitors expressed their concern to owner Bob Candy, they were told that "monkeys just do that
sometimes." Candy's apparent failure to provide the capuchin monkey with adequate veterinary care
and his continued exhibition of the animal despite apparent self-mutilation to the point of bleeding is in
apparent violation of 9 C.F.R. § 2.40(b)(2) (requiring "[t]he use of appropriate methods to prevent,
control, diagnose, and treat disease and injuries, and the availability of emergency, weekend, and
holiday care") and 9 C.F.R. § 2.131(d)(1) (requiring that "[a]nimals shall be exhibited only for periods
of time and under conditions consistent with their good health and well-being"). Additional pictures
provided by the visitors also appear to show patches of hair loss on the same capuchin monkey (photo
5). Please also ensure that this monkey is being provided with special attention with regard to
enhancement of his environment, based on the needs of the individual species and in accordance with
the instructions of the attending veterinarian, as required by 9 C.F.R. § 3.81(c)(2) and (4).

Skunk

Candy also demonstrated disregard for the welfare of a Tri-State Zoo animal when he reportedly
suspended a skunk by the tail and waved the animal in front of a visitor (photo 7), in apparent violation
of 9 C.F.R. § 2.131(b)(1) (requiring that "[h]andling of all animals shall be done as expeditiously and
carefully as possible in a manner that does not cause ... physical harm, or unnecessary discomfort").

Sheep

Visitors to the Tri-State Zoo documented an apparently injured sheep with his or her head tilted at a
sharp angle. Candy gave the visitors no indication that the sheep had been evaluated by a veterinarian,
in potential violation of 9 C.F.R. § 2.40(a) and (b)(2).

Cats

Visitors apparently photographed domestic cats who were showing clear signs of illness and were
roaming freely throughout the Tri-State Zoo, sharing unrestricted space with reptiles and birds and
separated from nonhuman primates by only a single layer of chain-link fencing (photos 1-2). Harboring
these apparently untreated, unhealthy cats and allowing them access to exhibited animals is in apparent
violation of 9 C.F.R. § 2.40(b)(2) and 9 C.F.R. § 3.133 (requiring that "[a]nimals shall not be housed
near animals that interfere with their health or cause them discomfort").

Please inspect these animals and ensure that they receive any necessary veterinary care, in accordance
with the AWA, and that all animals at the facility are safely and adequately contained.

2. Apparent Failure to Provide Food and/or Water

According to Tri-State Zoo visitors, food and water were apparently unavailable for several animals on
the premises. One video depicts several rats grouped in a cage with an empty water dish and only an
apparently old, unpeeled orange as a source of food. The squirrel monkey, bobcat, and fox enclosures
were each reported to be without food or water, and water containers were described as "frozen solid"

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for many barnyard animals. Failing to provide animals with regular access to food and water is in
violation of 9 C.F.R. § 3.129(b) and 9 C.F.R. § 3.130.

3. Apparent Failure to Provide Adequate Shelter

As supported by video footage provided by Tri-State Zoo visitors, an enclosure housing one dog and
one wolf-dog hybrid contained only a plastic "igloo" as shelter from the elements for both animals. The
visitors reported the temperature to be in the low 20s. This kennel does not appear large enough to
house both animals comfortably, nor does it shield occupants adequately from the cold, in apparent
violation of 9 C.F.R. § 3.127(b) (requiring "[N]atural or artificial shelter appropriate to the local
climatic conditions for the species concerned shall be provided for all animals kept outdoors to afford
them protection and to prevent discomfort to such animals").

4. Unsanitary and Dangerous Conditions

Video footage taken by Tri-State Zoo visitors shows kinkajou enclosures whose floors were covered
with excreta and rotten food. The suspended slings apparently containing the kinkajous were
apparentlyt discolored and dirty. Palatable food was apparently unavailable in at least one of the cages,
and the floor of the room housing the enclosures was reportedly filthy and overrun with cats. These
conditions are in apparent violation of 9 C.F.R. § 3.131(a) and (c), requiring that "[e]xcreta shall be
removed from primary enclosures as often as necessary to prevent contamination of the animals
contained therein and to minimize disease hazards and to reduce odors" and "[p]remises shall be kept
clean and in good repair in order to protect the animals from injury and ... trash shall be placed in
designated areas and cleared as necessary to protect the health of animals," respectively, and 9 C.F.R. §
3.129(a) and (b) .

A video provided by the visitors depicts two dead sulcata tortoises in an open-top box apparently
outdoors on the Tri-State Zoo premises. According to the visitors, these carcasses have been exposed
since at least their last visit on December 12, 2014. The carcasses are accessible to the cats and birds
who roam freely around the property and among exhibited animals, posing a risk of disease
transmission and in apparent violation of 9 C.F.R. § 3.131(c).

5. Untrained Volunteers Engage in Direct Contact With Big Cats

As supported by pictures provided by the visitors, the Tri-State Zoo apparently disregards the safety of
volunteers—who in some cases are considered to be members of the public by the USDA, see USDA
Big Cat Question and Answer, Commonly Asked Big Cat Questions, interpreting 9 C.F.R. §
2.131(c)(1)—and has been allowing them to come into direct contact with dangerous animals without
staff supervision, in apparent violation of 9 C.F.R. § 2.131(c)(1), which requires that "[d]uring public
exhibition, any animal must be handled so there is minimal risk of harm to the animal and to the public,
with sufficient distance and/or barriers between the animal and the general viewing public so as to
assure the safety of animals and the public"; § 2.131(d)(2), which states that "[a] responsible,
knowledgeable, and readily identifiable employee or attendant must be present at all times during
periods of public contact"; and § 2.131(d)(3), which requires that "[d]uring public exhibition,
dangerous animals such as lions, tigers ... bears ... must be under the direct control and supervision of
a knowledgeable and experienced animal handler" (photo 6).

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From: Hightail [delivery@yousendit.com]

Sent: Monday, February 09, 2015 4:26 PM

To: Delcianna Winders (PETA Foundation)

Subject: File Delivered: Tri State Zoo USDA inspection reports
To: motwigg@allconet.org

Subject: Tri State Zoo USDA inspection reports

Message:
Dear Mr. Twigg:

Thank you again for meeting with Jeff, Chris, Colin, and | today concerning the
animal welfare and public safety concerns at Tri-State Zoological Park. As
promised, I’ve attached all of the USDA Inspection Reports concerning Tri-
State that PETA has on file. If you don’t mind, please let me know that you
have received these files.

Unfortunately, we have not been able to locate a reopening date on the
internet. The Tri-State website simply says that the zoo will reopen in the

spring.
Very truly yours,

Brittany Peet

Deputy Director of Captive Animal Law Enforcement
PETA Foundation

202-251-4995

BrittanyP @petaf.or

 

7 |Tri State Zoo.pdf
_ Size: 10.19 MB Expires: February 23, 2015 13:26 PST

 

 

View File

 

 

Here's the link to this file:
https:/Awww. hightail.com/download/UIRRDGtNNnIqVOJMWE5Vag

PETA0002210
AN INTERNATIONAL ORGANIZATION DEDICATED TO PROTECTING THE RIGHTS OF ALL ANIMALS

 

February 6, 2015

Paul Peditto
Director, Wildlife and Heritage Service
Maryland Department of Natural Resources

Via e-mail: paul.peditto@maryland.gov
Dear Mr. Peditto:

I am writing on behalf of PETA to request that the Department of Natural Resources
(DNR) seize native and endangered animals who are unlawfully possessed by the Tr-
State Zoological Park (Tri-State) as well as animals who are subjected to cruelty.

Complaints about substandard conditions in roadside facilities such as Tri-State pour
into PETA's office year-round and are often among the worst cases of cruelty
imaginable. Although the U.S. Department of Agriculture (USDA) shares jurisdiction
over animal exhibitions with state and local law-enforcement agencies, it enforces
only the minimal standards of the federal Animal Welfare Act (AWA). It also
employs only about 100 inspectors to inspect thousands of licensed facilities, and the
agency's own Office of the Inspector General has repeatedly criticized it for failure to
enforce the law adequately. In addition, the AWA does not protect cold-blooded
animals or horses, and the USDA has not yet promulgated regulations to protect birds.
See 7U.S.C. § 2131(g). In short, your agency, in concert with other state and local
agencies, has both the ability and clear jurisdiction under the law to step in
where federal law falls short to protect dozens of animals from ongoing cruelty
and neglect.

As described in PETA's prior correspondence and in the attached appendix, visitors to
Tri-State in December and January reported—and in many instances documented—
sick or injured animals who did not appear to be under veterinary care; filthy
enclosures with accumulated feces, some of which appeared not to have been cleaned
for months, extremely poor food sanitation; inadequate shelter from the elements; and
many animals who did not have clean drinking water. Moreover, Tri-State holds no
DNR permits, meaning that the numerous native and endangered species it confines to
these squalid conditions are possessed contrary to Maryland's wildlife laws, which
your agency is charged with enforcing.

Please investigate Tri-State Zoo immediately, seize animals who are unlawfully
possessed or subjected to cruelty, and hold this facility accountable for any and
all violations of the law. PETA stands ready to assist in any way that it 1s able,
including by securing qualified independent experts or transferring any of the animals
to reputable sanctuaries. May I please hear from you on or before Wednesday,
February 11, concerning this matter?

Very truly yours,

Rachel Mathews
Counsel | Captive Animal Law Enforcement

202-680-8276 | RMathews@petaf.org

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Appendix

Native Species
According to the report of an individual who visited the facility last week—as well as inventories of warm-
blooded animals by the USDA—Tn-State possesses members of the following species native to Maryland:

Red fox (1)

Bobcat (2)

Striped skunk (2)

North American porcupine (2)
Mountain lion (1)

Raccoon (1)

The facility also possesses numerous snakes and aquatic turtles, some of whom may be members of native
species. According to your correspondence with my colleague Brittany Peet, Tri-State does not hold a permit
authorizing it to possess any of these animals.

The Maryland Code makes it clear that a permit or license is required prior to acquiring and possessing
native wildlife. Md. Code Ann., Nat. Res. § 10-902(a) ("Any person desiring to possess, import, export,
breed, raise, protect, rehabilitate, hunt, kill, trap, capture, purchase, or sell any wildlife native to Maryland,
shall first obtain a permit or license from the Department" (emphasis added)). Moreover, "[a]ny wildlife for
which a license or permit is required ... and for which a license or permit is not obtained shall be considered
a nuisance and contraband and is subject to seizure by any authorized law enforcement officer." Jd. § 10-
911(b).

Tri-State has no such permit, nor would it qualify for one. Under Maryland law, only a "properly accredited
person who has demonstrated a legitimate scientific or educational need for the requested wildlife" may
obtain a scientific collection permit. /d. § 10-909(b) (emphasis added). Owner Bob Candy has no such
"accreditation" or demonstrated "legitimate scientific or educational need" for these animals. USDA
disciplinary records show that Candy has no scientific qualifications. Ironically, given the filthy conditions
under which animals are kept at Tri-State, Candy's training is "in the fields of sanitation, housekeeping,
building management, and environmental services,” not biology, zoology, or any other scientific discipline.
And Candy started Tri-State "as a way to provide his children and other members of the community ... with
an entertaining and educational activity."

Endangered Species
Tri-State Zoo also possesses a number of animals who are members of species that are endangered,
threatened, or "in need of conservation,” including the following:

 

 

 

 

 

 

 

 

 

 

 

 

Species Federal Status Maryland Status
50 C.F.R. § 17.11(h) Md. Code Regs. §§
08.03.08.06, 08.03.08.09
Tigers (5) Endangered
Ring-tailed lemurs (2) Endangered
Leopard cat (1) Endangered
Gray wolf (1) Endangered Endangered extirpated
Mountain lion (1) Threatened Endangered extirpated
Japanese macaques (2) Threatened
Zz

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Alligators (3) Threatened
Bobcats (2) In need of conservation
North American porcupine (2) In need of conservation

 

Maryland defines "endangered species" and "threatened species" to include any species of wildlife
determined to be endangered or threatened under state law or under the federal Endangered Species Act. Md.
Code Ann., Nat. Res. § 10-2A-01(d), (1). Except by special permit issued by the DNR, it is unlawful to "take,
export, possess, process, sell or offer for sale, deliver, carry, transport, or ship by any means" any endangered
or threatened species or species in need of conservation. Md. Code Regs. §§ 08.03.08.04, 08.03.08.07,
08.03.08.09 (emphasis added); see also Md. Code Ann., Nat. Res. § 10-2A-05 (prohibiting these actions with
regard to endangered species, authorizing the DNR to regulate threatened species, and making it unlawful to
"[vjiolate any regulation pertaining to the conservation of the species or to any threatened species of
wildlife"). "Any person who violates the provisions of § 10-2A-05 of this subtitle, fails to procure any permit
required by § 10-2A-05 of this subtitle, or violates the terms of any permit shall be fined not more than
$1,000 or be imprisoned not more than | year, or both." Md. Code Ann., Nat. Res. § 10-2A-07(a).

Tri-State possesses members of at least nine protected species but holds no DNR permit to do so. Nor would
it qualify for one. The DNR may issue permits to allow the possession of protected species or other acts
under very limited circumstances. For endangered species, "Permits shall be issued only for: (a) Scientific
research designed to enhance the recovery of the species or population, or (b) Appropriate educational
purposes designed to further public awareness regarding the species." Md. Code Regs. § 08.03.08.04(B)(1).
The same applies to threatened species and species in need of conservation, although permits may also be
issued for "[o]ther valid scientific research." Jd. §§ 08.03.08.07(B)(2)(b), 08.03.08.09(B)(2)(b). As discussed
above, Candy 1s not conducting scientific research at Tri-State. He 1s warehousing animals 1n substandard
conditions that pose a threat to animal health and safety. Nor was his facility designed to further "public
awareness" of endangered species—it was designed to "entertain" his children and others.

Critically, Maryland's endangered species protections are separate and distinct from its native species laws
discussed above and its limitations on the possession of dangerous animals under Md. Code Ann., Crim. Law
§ 10-621. Hence, the fact that Tri-State's USDA license partially exempts it from the criminal laws
prohibiting possession of wild felids, primates, canids, and other species does not in any way exempt it from
the state's endangered species laws.

Cruelty to Animals

The DNR's Natural Resources Police Force "serves as a public safety agency with statewide authority to
enforce conservation, boating, and criminal laws." Md. Code Ann., Nat. Res. § 1-201.1(a) (emphasis added).
The secretary of the DNR and every Natural Resources police officer "shall have a// the powers conferred
upon police officers of the State. These powers may be exercised anywhere within the State." Jd. § 1-204(a)
(emphasis added). Likewise, "[e]very sheriff and law enforcement officer has the powers of a Natural
Resources police officer," and whenever the DNR "requires the advice and assistance of the State's
Attomeys, sheriffs of the several counties of the State or Baltimore City, or any law enforcement officer,
these officers shall render the required assistance as in other State cases." Jd. § 1-208(a), (b).

Not only are DNR officers empowered to enforce the criminal laws designed to protect animals from cruelty,
they are also uniquely qualified to handle cruelty cases involving wild animals. Moreover, they are "public
official[s] required to protect animals" and are therefore authorized to "seize an animal if necessary to protect
the animal from cruelty." Md. Code Ann., Crim. Law § 10-615(b)(1).

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Maryland law prohibits "depriv[ing] an animal of necessary sustenance; inflict[ing] unnecessary suffering or
pain on an animal ... unnecessarily fail[ing] to provide the animal with nutritious food in sufficient quantity,
necessary veterinary care, proper drink, air, space, shelter, or protection from the weather." Jd. § 10-604(2),
(3), (5). In addition to the conditions that PETA reported to the DNR in December, the following conditions
reported to PETA and documented by an individual who was at Tri-State on January 28, 2015, appear to
violate these prohibitions:

e Accumulated feces were in enclosures holding kinkajous, reptiles, snakes, birds, a ferret, and a squirrel
monkey. The cages holding some of the birds did not appear to have been cleaned for months.

e There were also feces accumulated in litterboxes for domestic cats and piled on the floors of various
buildings containing animal enclosures.

e = The floor of the "reptile room" was strewn with moldy scraps of vegetables, and most of the floor was
smeared with feces, as were several trays of food. Several sulcata tortoises were allowed to roam freely
in this area and appeared to have a substance smeared on their faces.

e Food and water sanitation was extremely poor. Tortoises were being fed rotting vegetables. Rotting fruit
was scattered among the feces-strewn floor of the kinkajou cage. Birds were given brown water with
debris floating in it. Free-roaming ducks, chickens, and rabbits were observed eating rotting fruit.

e Foxes, bobcats, lions, a squirrel monkey, pigs, and sheep did not appear to have a source of drinking
water.

e Turtles were confined to troughs containing only 2 inches of filthy dark brown water. The pool for
alligators contained only a small amount of filthy water.

e Birds were shivering in the frigid winter temperatures.

e A dog and a wolf who were kept outdoors did not have adequate shelter in their shared enclosure. Only a
single igloo doghouse was available as shelter for these animals.

e A gray domestic cat had mucus along the left side of his or her mouth and sneezed several times in the
presence of the visitor. Back in December, the visitor observed a gray cat with a bloody nose and
believes this was the same animal, suggesting that the cat may be suffering from an ongoing, untreated
respiratory disease.

e In fact, numerous cats are reportedly allowed to roam throughout Tri-State, and many show signs of
sickness, including ocular discharge and diarrhea.

e A cockatoo had blotchy red spots around his or her eyes and mouth, a possible sign of untreated disease
or injury.

e A rat appeared to be sick and was coughing.

e A goat appeared to walk with a limp. This same animal was lame when the visitor was at the facility in
December, suggesting that he or she has not received proper care for the disease or injury causing the
limp.

PETA0000899
AN INTERNATIONAL ORGANIZATION DEDICATED TO PROTECTING THE RIGHTS OF ALL ANIMALS

 

January 30, 2015

The Honorable Michael O. Twigg
State's Attorney
Allegany County

Via e-mail: motwigg@allconet.org

Re: Urgent Request for Investigation of the Tri-State Zoological Park of
Western Maryland for Apparent Violations of Maryland Law

Dear Mr. Twigg:

I am writing on behalf of PETA to alert you to numerous apparent violations of
state law by the Tri-State Zoological Park of Western Maryland (Tri-State Zoo)
that were documented by visitors who were at the facility on January 28, 2015, and
December 11, 2014. I would like to meet with you in person as soon as possible in
order to present all the evidence so that your office can take enforcement action
and seize any animals who have been neglected and subjected to cruelty.

As described in the attached appendix, the visitors reported—and in many
instances documented—sick or injured animals who did not appear to be under
veterinary care; filthy enclosures with accumulated feces, some of which appeared
not to have been cleaned for months; extremely poor food sanitation; inadequate
shelter from the elements; and many animals who did not have clean drinking
water.

You have the ability to protect dozens of animals from ongoing cruelty and neglect
by exercising your jurisdiction to enforce Maryland's criminal laws in this case.
Please investigate Tri-State Zoo immediately and hold it accountable for any
and all violations of Maryland law. I look forward to your prompt response and
to discussing evidence and an investigation with you. You can reach me at 202-
540-2191 or BrittanyP@petaf.org. Thank you for your time and consideration.

Very truly yours,
Brittany Peet, Esq.

Deputy Director
Captive Animal Law Enforcement

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FOUNDATION

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Oakland, CA 94610
510-763-PETA

 

PETA0002232
Case 1:20-cv-01225-PX Document 71-34 Filed 12/20/21 Page 24 of 68

Appendix

Maryland law prohibits "depriv[ing] an animal of necessary sustenance; inflicting] unnecessary
suffering or pain on an animal ... unnecessarily fail[ing] to provide the animal with nutritious food in
sufficient quantity, necessary veterinary care, proper drink, air, space, shelter, or protection from the
weather." Md. Code Ann., Crim. Law § 10-604(a)(2), (3), (5). The following conditions—as well as
others—appear to violate these prohibitions. I will provide your agency with the available photographic
and/or video evidence of these apparent violations when we meet. Among other concerns, the visitors
reported—and in many instances documented—the following:

e A gray domestic cat had mucus along the left side of his or her mouth and sneezed several times in
the presence of the visitors. Back in December, the visitors observed a gray cat with a bloody nose
and believe this was the same animal, suggesting that the cat may be suffering from an ongoing,
untreated respiratory disease.

e In fact, numerous cats are reportedly allowed to roam throughout Tri-State, and many show signs of
sickness, including ocular discharge and diarrhea.

e A cockatoo had blotchy red spots around his or her eyes and mouth, a possible sign of untreated
disease or injury.

e A rat appeared to be sick and was coughing.

e A goat appeared to walk with a limp. This same animal was lame when the visitors were at the
facility in December, suggesting that the animal has not received proper care for the disease or injury
causing the limp.

e Accumulated feces was in enclosures holding kinkajous, reptiles, snakes, birds, a ferret, and a
squirrel monkey. The cages holding some of the birds did not appear to have been cleaned in
months.

e There were also feces accumulated in litterboxes for domestic cats and piled on the floors of various
buildings containing animal enclosures.

e The floor of the "reptile room" was strewn with moldy scraps of vegetables, and most of the floor
was smeared with feces, as were several trays of food. Several sulcata tortoises were allowed to
roam freely in this area and appeared to have a substance smeared on their faces.

e Food and water sanitation was extremely poor. Tortoises were being fed rotting vegetables. Rotting
fruit was scattered among the feces-strewn floor of the kinkajou cage. Birds were given brown water
with debris floating in it. Free-roaming ducks, chickens, and rabbits were observed eating rotting
fruit.

e Pigs, sheep, foxes, bobcats, lions, and a squirrel monkey did not appear to have a source of drinking
water.

e Turtles were confined to troughs containing only 2 inches of filthy, dark brown water. The pool for
alligators contained only a small amount of filthy water.

e Birds were shivering in the frigid winter temperatures.

e A dog and a wolf who were kept outdoors did not have adequate shelter in their shared enclosure.
There was only a single igloo doghouse available as shelter to the animals.

PETA0002233
Case 1:20-cv-01225-PX Document 71-34 Filed 12/20/21 Page 25 of 68

 

From: motwigg@alleganygov.org

Sent: Wednesday, February 04, 2015 9:57 AM

To: Brittany Peet

Subject: Re: Urgent Request for Investigation of the Tri-State Zoological Park of Western Maryland

for Apparent Violations of Maryland Law

Monday looks pretty good. Would 11 work? Wednesday might also work.

Michael O. Twigg

State's Attorney

Allegany County, Maryland
59 Prospect Square, Suite 111
Cumberland, Maryland 21502
301-777-5962

301-777-5964 (fax)

From: Brittany Peet
Sent: Wednesday, February 4, 2015 7:03 AM

To: ‘Michael Twigg’

Mr. Twig:

Thank you for your reply. Are you available for an in-person meeting in your office early next week?
Very truly yours,

Brittany Peet, Esq.

Deputy Director

Captive Animal Law Enforcement
PETA Foundation

1536 16th St. NW

Washington, DC 20036
202-540-2191 Office
202-251-4995 Mobile
202-540-2208 Facsimile

The squirrel that you kill in jest, dies in earnest. ~ Henry David Thoreau

You can help animals today, support PETA

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doctrine. If you believe you have received this message in error, please do not read it. Please reply to the
sender that it has been sent in error and delete the message. Thank you.

From: Michael Twigg [mailto:motwigg@alleganygov.org]
Sent: Wednesday, February 04, 2015 6:42 AM
To: Brittany Peet
Subject: RE: Urgent Request for Investigation of the Tri-State Zoological Park of Western Maryland for Apparent
Violations of Maryland Law
1

PETA0002225
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Ms. Peet,
I will be in the office this afternoon. Would that be a good time to call you?

On Feb 3, 2015 9:45 AM, "Brittany Peet" <BrittanyP@petaf.org> wrote:
Dear Mr. Twigg:

I am writing to follow-up concerning the meeting request that I submitted to your office on Friday, January 30. I
hope that we can schedule a meeting as soon as possible.

I look forward to hearing from you.
Very truly yours,

Brittany Peet, Esq.

Deputy Director

Captive Animal Law Enforcement
PETA Foundation

1536 16th St. NW

Washington, DC 20036
202-540-2191 Office
202-251-4995 Mobile

202-540-2208 Facsimile

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sender that it has been sent in error and delete the message. Thank you.

From: Brittany Peet
Sent: Friday, January 30, 2015 6:45 PM

To: 'motwigg@allconet.orq'

Subject: Urgent Request for Investigation of the Tri-State Zoological Park of Western Maryland for Apparent Violations of
Maryland Law

Importance: High

Dear Mr. Twigg:

Please see the attached correspondence, submitted on behalf of PETA.
Very truly yours,

Brittany Peet, Esq.

Deputy Director

Captive Animal Law Enforcement
PETA Foundation

PETA0002226
Case 1:20-cv-01225-PX Document 71-34 Filed 12/20/21 Page 27 of 68
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Case 1:20-cv-01225-PX Document 71-34 Filed 12/20/21 Page 28 of 68

 

From: Delcianna Winders (PETA Foundation)

Sent: Friday, January 30, 2015 12:23 PM

To: ‘paul.peditto@maryland.gov'; 'kelley.johnson@maryland.gov'

Subject: RE: RE: Urgent Request for Investigation of the Tri-State Zoo for Apparent Violations of
Maryland Law

Importance: High

Dear Director Peditto and Captain Johnson:

Thank you for getting back to me. I’m writing to follow-up on your voicemail message. | have just received additional
evidence of ongoing apparent violations at Tri-State Zoo so | am eager to present this information to you. Might you be
available to meet in person next week? If you’d like to touch base by phone, | should be available today until 12:30 ET,
between 1:30 and 2 ET, and between 3:30 and 4:30 ET. Monday | should be able to make myself available any time after
1 pm ET.

Thank you
n----- Original Message ------

From: Delcianna Winders (PETA Foundation)

Sent: Mon 1/12/2015 01:34 PM

Revd: Mon 1/12/2015 01:34 PM

To: kelley.johnson@maryland.gov

cc:

Subject: RE: Urgent Request for Investigation of the Tri-State Zoo for Apparent Violations of Maryland Law

 

 

 

Hello,

| wanted to follow up on this correspondence from last month. | did hear from your office on December 23 that we
would be able to meet to go over the evidence after the holiday. Can you please let me know when you might be
available to meet? Of course, the sooner the better so that the evidence doesn’t get stale. | am available this week as
well as next week.

Best,

Delcianna Winders

Deputy General Counsel

Captive Animal Law Enforcement
202-309-4697

n----- Original Message ------

From: Rachel Mathews

Sent: Fri 12/19/2014 05:01 PM

Revd: Fri 12/19/2014 05:01 PM

To: kelley.johnson@maryland.gov

cc:

Subject: Urgent Request for Investigation of the Tri-State Zoo for Apparent Violations of Maryland Law

 

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Case 1:20-cv-01225-PX Document 71-34 Filed 12/20/21 Page 29 of 68

 

From: Elena Kravtsoff

Sent: Monday, January 26, 2015 11:56 AM
To: ‘Tina Rafferty’

Subject: RE: Tri-State Zoological Park

Dear Ms. Rafferty:

Thank you for your e-mail. PETA stands ready to help the Allegany County Animal Shelter with its
investigation of the Tri-State Zoological Park. Please let me know when you are available to meet with a PETA
representative. Also, I would appreciate it if you would clarify what "ARC" stands for. Thank you.

Sincerely,

Elena Kravtsoff
Counsel

PETA Foundation
1536 16th St. NW
Washington, DC 20036
M: (646) 378-9748

F:; (202) 540-2208

"But the time must come when inhumanity protected by custom and thoughtlessness will succumb before
humanity championed by thought." ~Albert Schweitzer

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you believe you have received this message in error, please reply to the sender that it has been sent in error
and delete it. Thank you.

From: Tina Rafferty [mailto:tina.rafferty@ashelterofhope.com]
Sent: Friday, January 23, 2015 10:06 AM

To: Elena Kravtsoff

Subject: Re: Tri-State Zoological Park

Please see attached.

On Jan 12, 2015, at 6:00 PM, Elena Kravtsoff <elenak@petaf.org> wrote:

> <Request for a Meeting Regarding Apparent Violations at the Tri-State Zoological Park (00177235xB39F9).pdf>

PETA0002230
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December 19, 2014

Karl A. Brubaker
Manager
Allegany County Animal Shelter

Via e-mail: kbrubaker@allconet.org

Re: Request for a Meeting Regarding Apparent Violations at the Tri-State
Zoological Park

Dear Mr. Brubaker:

I am writing on behalf of People for the Ethical Treatment of Animals (PETA) to alert
you to numerous apparent legal violations by the Tri-State Zoological Park that were
documented by individuals who were at the facility last week. I would like to meet
with you in person at your earliest convenience to present and discuss all the evidence
in order to enable you to open an investigation and take enforcement action in
accordance with Allegany County Code § 225-5, which gives your agency the
"power|[] and dut[y]" to "investigate and to charge in connection with unlawful acts or
violations of any law, ordinance or regulation dealing with animals or animal control."

Maryland law prohibits "depriv[ing] an animal of necessary sustenance; inflict[ing]
unnecessary suffering or pain on an animal|[; and] ... unnecessarily fail[ing] to provide
the animal with nutritious food in sufficient quantity, necessary veterinary care, proper
drink, air, space, shelter, or protection from the weather." Md. Crim. Code § 10-
604(2), (3), (5). Some of the most troubling apparent violations are as follows. I will
provide your agency with photographic and video evidence of these allegations where
available when we meet.

e Domestic cats run freely throughout the facility, sharing unrestricted space with
tortoises and peacocks—whom they could potentially kill—and eating food meant
for other animals. Several of the cats show signs of sickness, including hair loss
and ocular/nasal discharge, and do not appear to be receiving any veterinary care.
Owner Bob Candy also admitted that a domestic cat died prematurely and pointed
out tumors on another.

e A goose with a bleeding neck was observed.

e Food sanitation is extremely poor. For example, cats and birds are picking at food
meant for other animals, and spoiled food that was apparently intended to be fed
to animals was observed inside and outside a refrigerator in the reptile house.
Uncovered raw donated carcasses are deposited into a bin adjacent to a portable
toilet.

e Branches over the tiger enclosure present a real threat of the animals’ escape.

e The primates all show signs of distress. For example, the Japanese macaque was
slamming the enclosure roof repeatedly, risking injury and likely distressing other
animals, while other primates appeared to be mutilating themselves.

e The bird housing appears to be soiled with months’ worth of accumulated excreta.
Contaminated drinking water was also observed.

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PETA0001130
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e The reptile house was filthy, including with a full, unkempt cat litterbox, spoiled food in the
refrigerator, and food scattered all over the floor where staff and tortoises walk.

Thank you for your attention to this important and time-sensitive matter. I look forward to your prompt
response and to presenting the evidence to you.

Very truly, yours,

On Lon Le _

Delcianna Winders, Esq.
Deputy General Counsel | Captive Animal Law Enforcement

202-309-4697 | DelciannaW@petaf.org

PETA0001131
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November 5, 2014

Genevieve LaRouche, Field Supervisor
Special Agent Bruce Corley
Cambridge Field Office

U.S. Fish and Wildlife Service

Via e-mail (Genevieve LaRouche@fws.gov and Bruce Corley@fws.gov)
Dear Ms. LaRouche & Mr. Corley:

I am writing on behalf of People for the Ethical Treatment of Animals (PETA)
to follow-up on a complaint made on November 3 by Dr. Heather Rally,
captive-animal veterinarian at PETA, about possible violations of the
Migratory Bird Treaty Act (MBTA) by the Tri-State Zoological Park (“Tri-
State”) in Cumberland, Md.

Dr. Rally visited Tri-State on October 31, where she observed an American
crow housed in a small aviary. According to Dr. Rally, the crow exhibited
“very serious lameness”: he held one leg so close to his body that he could not
use it and hobbled around on a single leg. The bird was able to fully extend
the lame leg, but would only place weight on it for a second at a time,
indicating “obvious pain.” A Tri-State keeper named Tim told Dr. Rally that
the crow’s lameness was caused by a traumatic leg injury. However, in Dr.
Rally’s professional opinion, regardless of whether the crow initially suffered a
traumatic leg injury, the crow’s leg is now seriously infected and requires
immediate veterinary treatment. The infection appears to be ulcerative
pododermatitis, or bumblefoot, a bacterial infection and inflammatory reaction
in the feet of birds, which occurs most frequently in captive birds who receive
improper husbandry. Dr. Rally was given the impression that the crow has
never been treated for this infection.

Tri-State’s possession of this crow appears to violate the MBTA. “Unless and
except as permitted by regulations,” the Act prohibits persons from
“possess[ing]” any listed migratory bird. 16 U.S.C. § 703(a). The American
crow and other species of crow are protected under the MBTA. FWS, List of
Migratory Bird Species Protected by the Migratory Bird Treaty Act as of
December 2, 2013,
http://www.fws.gov/migratorybirds/RegulationsPolicies/mbta/MBTANDX.HT
ML. The FWS regulations prohibit persons from possessing listed migratory
birds without a valid permit or unless the possession falls under specified
permit exceptions. 50 C.F.R. § 21.12-21.15. Tri-State apparently lacks a valid
permit to possess the crow, and its possession of the crow does not fall under
any of the permit exceptions. See id. § 21.12-21.15 (listing permit exceptions).

 

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PETA0001128
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Any person who violates the MBTA or the regulations “shall” be fined up to $15,000,
imprisoned up to six months, or both. 16 U.S.C. § 707(a). The FWS “shall” seize any
unlawfully possessed birds “when found.” Jd. § 706.

On November 3, Dr. Rally informed FWS Special Agent Bruce Corley of these possible
violations of the MBTA by Tri-State. PETA urges the FWS to immediately investigate these
apparent violations and, if warranted by the results of that investigation, assess the maximum
civil penalty, refer the case for prosecution to the U.S. Attorney’s Office for the relevant
jurisdiction, and transfer the crow to an MBTA-licensed wildlife rehabilitation facility. PETA
stands ready to assist in any way that it is able, including by helping to secure qualified
independent experts or to transfer the crow to a reputable sanctuary. Thank you for your
attention to this important matter.

Very truly yours,

Amanda Schwoerke
Counsel
203-815-5481 | AmandaSchwoerke@petaf.org

 

PETA0001129
AN INTERNATIONAL ORGANIZATION DEDICATED TO PROTECTING THE RIGHTS OF ALL ANIMALS

 

January 5, 2014

Elizabeth Goldentyer, D.V.M.
Regional Director
USDA/APHIS/AC Eastern Region

Via e-mail: betty.j.goldentyer@usda.gov

Re: Apparent Animal Welfare Act Violations, Including Dangerous Conditions, at
Tri-State Zoological Park (license no. 51-C-0064)

Dear Dr. Goldentyer:

I am writing on behalf of People for the Ethical Treatment of Animals (PETA) to
request that the U.S. Department of Agriculture (USDA) promptly investigate the Tri-
Stat Zoological Park (license no. 51-C-0064). The enclosed photographs, which were
taken by visitors to the Tri-State Zoological Park on December 11" and 12", 2014,
contain evidence of apparent violations of the Animal Welfare Act (AWA) as
highlighted below and detailed in the attached appendix.

The visitors reported—and in most instances documented—the following apparent
violations:

Domestic cats—some of whom showed clear signs of illness—roaming freely
throughout the premises, sharing unrestricted space with reptiles and birds,
and separated from non-human primates by only single layer of chain link
fencing.

Untrained volunteers in direct and close contact with adult big cats and tree
branches grown over the top of a tiger enclosure presenting a real risk of
escape.

All primates at the facility show signs of distress, including a Japanese
macaque who was recorded repeatedly slamming the enclosure roof and the
squirrel and capuchin monkeys appear to be self-mutilating.

Unsanitary and dangerous conditions in the birdhouse, including excreta-
coated walls and floor, posing a risk of zoonoses, and droppings
contaminating food and water containers.

Numerous animals in apparent need of veterinary attention in addition to the
aforementioned cats, including a cat with tumors, a goose with a bleeding
neck, and a limping goat

Please ensure that animals at the Tri-State Zoological Park are provided with adequate
veterinary care, enclosure barriers, shelter, and water, and are otherwise handled in
accordance with the AWA. Please also hold owner, Bob Candy, fully accountable for
any and all violations that you discover during your investigation. Thank you for your

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PETA0001150
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attention to this important matter. Please inform me of the complaint number that your agency assigns to
this correspondence.

“7 tly Sours,

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Delcianna Winders, Esq.
Deputy General Counsel | Captive Animal Law Enforcement

202-309-4697 | DelciannaW@petaf.org

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PETA0001151
Case 1:20-cv-01225-PX Document 71-34 Filed 12/20/21 Page 36 of 68

Tri-State Zoological Park Photographs
12/11/14-12/12/14

 

Photograph 1: Cat with apparent tumors roams freely throughout the property and in close
proximity to exhibited animals.

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Tri-State Zoological Park Photographs
12/11/14-12/12/14

 

Photograph 2

PETA0001142
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Tri-State Zoological Park Photographs
12/11/14-12/12/14

 

Photograph 3

PETA0001143
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Tri-State Zoological Park Photographs
12/11/14-12/12/14

       

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Photographs 4-5: Direct contact between juvenile lion and volunteer (top) an exhibitor (bottom)

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Tri-State Zoological Park Photographs
12/11/14-12/12/14

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ERatasenits 6-7: Prinnnates exhibiting self-mutilation ra stereotypy. Squire amet (tan)
biting arm and capuchin monkey (bottom) with bald spot on tail from removing hair.

PETA0001145
Case 1:20-cv-01225-PX Document 71-34 Filed 12/20/21 Page 41 of 68

Tri-State Zoological Park Photographs
12/11/14-12/12/14

 

Photographs 8-11: Dangerous level of accumulated excreta in bird house with plastic tarps
preventing adequate ventilation

PETA0001146
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Tri-State Zoological Park Photographs
12/11/14-12/12/14

   

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Photographs 10-11

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Tri-State Zoological Park Photographs
12/11/14-12/12/14

 

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Tri-State Zoological Park Photographs
12/11/14-12/12/14

     

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Photographs 12-14: Spoiled food documented in reptile room refrigerator and roaming birds
allowed to feed on refuse.

PETA0001149
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From: Gemma Vaughan

Sent: Thursday, September 12, 2013 1:20 PM

To: ‘ddevore@allconet.org'

Subject: Gemma from PETA here regarding Tri-State Zoo
Attachments: Cumberland, MD.jpg

Dear Mr. Devore,

We received a call of concern regarding an underweight pig (please see the attached picture) reportedly kept at the Tr-
State Zoo, at 10105 Cottage Inn Lane NE in Cumberland. Additional concerns include a sheep that couldn't hold his/her
head upright and that the enclosures were covered in excessive feces.

Will you kindly look into this matter and let me know your findings? Thank you for the difficult work that you do.
Best wishes,

Gemma Vaughan, L.M.S.W.

Cruelty Caseworker

Emergency Response Team
757-359-0028

PETA0002214
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PETA0002215
Case 1:20-cv-01225-PX Document 71-34 Filed 12/20/21 Page 47 of 68

Zeynep Graves

From: Lisa Wathne

Sent: Friday, October 30, 2009 9:45 AM
To: Teresa Marshall

Subject: plz file: MD, Tri-State Zoo

From: Robbie Ruderman

Sent: Thursday, October 29, 2009 1:37 PM
To: Debbie Leahy; Lisa Wathne

Cc: Ingrid Newkirk

Subject: FW: Tri-State Zoo

Please see response below from the lovely and talented Camille.

From: Animal Control [mailto:animal_control@allconet.org]
Sent: Thursday, October 29, 2009 3:06 PM

To: Robbie Ruderman

Cc: Gloria.S.McFadden@aphis.usda.gov

Subject: RE: Tri-State Zoo

Dear Robert:

As far as we are concerned this complaint has been closed. A licensed veterinarian has looked at the 2 goats, Mt. Lion
and Little Pig. He has found no deficiencies or concerns. We have his statement in writing. We were satisfied with the
water content upon our visit. As previously stated, it was clean with no algae present. Maryland law does clearly define
cruelty as “PHYSICAL” suffering, with no mention of mental stress. The veterinarian’s statement indicates that Charlie
was alert and healthy. Little Pig did have mild conjunctivitis due to dust and allergens in the hay, grain and soil. The two
goats were diagnosed with a hereditary deformity as previously stated. The trimming of the hooves is all that is
recommended by the vet. He was satisfied with his inspection of the animals and the facility. | will be forwarding a copy
to Dr. McFadden.

Sincerely,

Camille Carrico, RVT, Manager

Allegany County Animal Control & Shelter
716 Furnace Street

Cumberland, MD 21502

XXX-XX-XXXX

 

From: Robbie Ruderman [mailto:RobbieR-Intern@peta.org]
Sent: Tuesday, October 20, 2009 7:23 PM

To: Animal Control

Subject: RE: Tri-State Zoo

Dear Camille,

Thank you for your prompt response to our request to look into the conditions at the Tri-State Zoo. We are still concerned
about a few issues, so let me mention them here:

The animals’ drinking water:

While it is true that barley can and is used to prevent algae growth in water, this is typically done for fish farms, ponds,
etc, not drinking water. When this method is performed correctly, the water should appear clear, not green. The preferred
method seems to be to use barley extract, not the actual grain or plant (which may be what Mr. Candy is doing).

1

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Little Pig, the mixed breed pig:

Although I am surprised that this animal’s condition has improved so quickly without vetermary care, I am glad to hear
the ocular discharge is no longer yellow, but clear. It is also good to hear that her food bowl was fresh and free of insects
at the time of your visit, unlike at the time of mine.

Charlie, the mountain lion:

You concluded that Charlie appears to be “healthy and happy”. With all due respect, he is exhibiting stereotypical
behavior that means his basic need for stimulation (companionship, freedom of movement, activity, etc.) is not being met.
It is well established that wild animals in captivity often become victims of psychological stress as a direct result of their
confinement, their unnatural surroundings, their lack of stimuli, and their inability to perform natural behavior patterns.
His continual rhythmic pacing is one of the most common manifestations of psychological stress. Under the law, as you
know, “causing unnecessary suffering” is not restricted to a physical condition and any reputable animal behaviorist
should be willing to attest to his deteriorated mental state.

The two lame goats:

Perhaps the goats’ malformed hooves are the result of a genetic condition as Dr. Adams believes, and if it is in fact
untreatable as Dr. Adams suggests, that is unfortunate. After seeing the goats try to walk a mere 25 feet, all the while
hobbling and faltering, I have my doubts that these animals are pain-free. May I ask if you have spoken to Dr. Adams to
confirm his diagnosis?

Again, Camille, thank you for your time and efforts. I look forward to hearing back on the few outstanding points.
Very truly yours,

Robert

Robert Ruderman

Captive Exotic Animal Specialist

People for the Ethical Treatment of Animals
202.483.7382

From: Animal Control [mailto:animal_control@allconet.org]
Sent: Friday, October 16, 2009 11:45 AM

To: Robbie Ruderman

Subject: Tri State Zoo #4

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The Bird/Reptile house does have a lot of exhibits, especially now that the
weather has gotten colder and outside animals have been moved inside. None of the animals appeared to be in
distress. All of the cages were clean and feces free. Fresh food was also in evidence. There was an extension
cord plugged into a heater; however, the raised cages and lengths of the birds’ necks did not allow access to the
cord at the time of our visit.

  

Snakes’ water was all clean and clear. Tortoise and turtle water was clean and clear.

 

Tortoise and turtle food. Donkey water. Small amount of dirt in water due
to the fact that it has rained for several days and this
is well water. No algae growth evident.

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Llama, alpaca, goat & Pony water. White Donkey water.

No algae growth evident. The first picture does show some hay in the water. There were also 4 leaves in the
water in the second picture. The water troughs are made from black plastic and the discoloration on them is
most probably mineral deposits and stains. It is hard to get clear pictures because the black color of the
containers reflects through the water giving it a very dank appearance.

It is our opinion that the animals at the zoo are being taken care of in an acceptable manner that does not violate
Maryland’s Annotated Code for Animal Cruelty and Neglect. The animals also seem to have good interaction
with Mr. Candy and he does appear to be genuinely interested in their well-being and knowledgeable about
them. A copy of this report is being forwarded to Gloria S. McFadden, DVM, Veterinary Medical Officer
USDA, APHIS, Animal Care. If you have any additional questions, please feel free to contact me.

Sincerely,

Camille Carrico
Animal Control Manager

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Maryland Fire Marshal

From: "Office of the State Fire Marshal - Western Region” <osfmwro@mdsp.org>
To: “Robbie Ruderman" <RobbieR-Intern@peta.org>
Sent: Friday, November 06, 2009 2:03 PM

Subject: RE: Tri-State Zoological Park - potential fire hazards

Mr. Ruderman,

| have been out of the office most of this week and wanted to respond to your email inquiry. Our office has
conducted an inspection of the Tri-State Zoological Park and identified several violations. We have established a
timeframe with the site when these violations must be corrected or a written plan of correction be approved.
We will continue to monitor these violations until they have been satisfactorily resolved.

Regards,

Jason M. Mowbray

Deputy Chief State Fire Marshal, Fl

Commander - Western Regional Office

Maryland Department of State Police, Office of the State Fire Marshal

From: Robbie Ruderman [mailto:RobbieR-Intern@peta.org]
Sent: Wednesday, November 04, 2009 9:24 AM

To: Office of the State Fire Marshal - Western Region
Subject: RE: Tri-State Zoological Park - potential fire hazards

Good morning, Fire Marshal Mowbray.

lam very interested to hear the outcome of your visit to the Tri-State Zoo. Please feel free to contact me with
any questions or concerns.

Thank you!
Robert

Robert Ruderman

Captive Exotic Animal Specialist

People for the Ethical Treatment of Animals
202.483.7382

From: Office of the State Fire Marshal - Western Region [mailto:osfmwro@mdsp.org]

Sent: Thursday, October 22, 2009 9:28 AM

To: Robbie Ruderman

Subject: RE: Tri-State Zoological Park - potential fire hazards - with attached letter and photos # 1,2,3,4

Mr. Ruderman,

| personally received your package this morning. We will follow-up on your complaint accordingly.

11/6/2009

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Thank you,

Jason M. Mowbray

Deputy Chief State Fire Marshal, Fl

Commander - Western Regional Office

Maryland Department of State Police, Office of the State Fire Marshal

From: Robbie Ruderman [mailto:RobbieR-Intern@peta.org]

Sent: Friday, October 16, 2009 1:24 PM

To: osfmwro@mdsp.org

Subject: Tri-State Zoological Park - potential fire hazards - with attached letter and photos # 1,2,3,4

Deputy Fire Marshal Mowbray,

Please see attached letter and photographs regarding potential fire hazards at the Tri-State Zoological
Park.

Thank you!

Robert Ruderman

Captive Exotic Animal Specialist

People for the Ethical Treatment of Animals
202.483.7382

11/6/2009

PETA0000946
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Maryland Fire Marshal

From: "Robbie Ruderman" <RobbleR-Intern@peta.org>

To: <osimwro@mdsp.org>

Sent: Friday, October 16, 2009 1:24 PM

Attach: Tri-State Zoological Park - fire hazard complaint - for Maryland Fire Marshal's Office.docx; Photo 1 - red barn - exterior. JPG; Photo 2 - red barn - interior - exposed circuil
breaker panel and electical wires.JPG; Photo 3 - red barn - interior - exposed circuit breaker panel and electical wiress - next to floor to ceiling straw or straw.JPG; Photo 4 -
red barn - interior - floor to ceiling straw or hay.JPG

Subject: Tri-State Zoological Park - potential fire hazards - with attached letter and photos # 1,2,3,4

Deputy Fire Marshal Mowbray,

Please see attached letter and photographs regarding potential fire hazards at the Tri-State Zoological Patk.
Thank you!

Robert Ruderman

Captive Exotic Animal Specialist

People for the Ethical Treatment of Animals
202.483.7482

10/21/2009

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October 16, 2009 Pe iA

Jason Mowbray, Deputy Fire Marshal PEOPLE FOR THE ETHICAL
Maryland State Fire Marshal’s Office TREATMENT OF ANIMALS
1125 National Highway 501 FRONT ST.

La Vale, MD 21502 NORFOLK, VA 23510

757-622-PETA
757-622-0457 (FAX)

PETA.org
Info@peta.org

Dear Deputy Fire Marshal Mowbray:

Please consider this letter an official request for the Maryland State Fire
Marshal’s Office to investigate potential fire hazards at the Tri-State Zoological

Park in Cumberland, MD.

The enclosed photographs, which were recently brought to our attention and taken
at the Tri-State Zoological Park on October 9, 2009, contain evidence of two
potential fire hazards. Please be aware that there may very well be more potential
fire hazards on the premises considering that most of the enclosures are
constructed of wood that is presently decaying and decomposing, and possibly not
even treated with fire retardant.

Following are the two potential fire hazards that were observed on the zo0o’s
premises:

1. There is a small red open barn (to the right of the binturong enclosure) which
at the time contained goats, hens and domestic cats. The interior of this barn
appeared to present a potential fire hazard. There was a circuit breaker panel
without a panel cover, exposing electrical wires. The barn was filled from floor to
ceiling with easily combustible straw or hay. Likely you are aware of the fire at
the zoo on March 29, 2006, which killed about 100 reptiles, birds & monkeys,
who were all being confined in an indoor facility. The fire was resultant of a
faulty electrical wire which ignited the floor joists of the building. See attached

photos 1,2,3,4.

2. Inside the green building called the “Reptile & Birds House” (to the left of
the Arctic fox enclosure), there was a live extension cord lying within reach of an
African grey parrot contained in a metal wired cage. The bird could easily reach
through the cage with his or her mouth and chew on the electrical cord, perhaps
resulting in the ignition of a fire. Please note that, according to a USDA
inspection report performed on 9/26/07, the zoo was cited for the following
violation: “Pigtail macaque found dead on 12/8/06. Owner and vet theorized that
the animal had been electrocuted as evidenced by a partially chewed and
unplugged heat lamp cord. Employees failed to realize that the macaque had
access to the heat lamp cord.” See attached photos 5,6,7,8.

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Thank you for your time. I look forward to hearing from you as to what action your department
has taken. I can be reached at 202-483-7382 or by email at RobbieR-Intern@peta.org.

Very truly yours,

Robert Ruderman
Captive Exotic Animal Specialist
People For The Ethical Treatment of Animals

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October 14, 2009

Camille R. Carrico, Manager
Allegheny County Animal Control
716 Furnace St. Extended
Cumberland, MD 21502

Dear Ms. Carrico:

Please consider this letter an official request for the Allegheny County Animal Control to
investigate and take immediate action to correct the following apparent violations at the Tri-
State Zoological Park in Cumberland, MD. The enclosed photographs and video, which were
brought to our attention and taken at the Tri-State Zoological Park on October 9, 2009, contain
evidence of apparent violations of the Annotated Code of the State of Maryland: MD CRIM
LAW § 10-604, which states:

(a) A person may not: (5) if the person has charge or custody of an animal, as owner or
otherwise, unnecessarily fail to provide the animal with nutritious food in sufficient quantity,
necessary veterinary care, proper drink, air, space, shelter, or protection from the weather.

(b) (1) A person who violates this section is guilty of a misdemeanor and on conviction is subject
to imprisonment not exceeding 90 days or a fine not exceeding $1,000 or both.

Following is a list of apparent violations:
The owners of the Tri-State Zoological Park failed to provide:
“,.. necessary veterinary care”

1. Potbellied Pig

An enclosure contained a solitary potbellied pig. The pig appeared to have significant
ocular and nasal discharge. It appears that the pig is suffering from a respiratory illness
and there is no evidence of necessary veterinary care. See photos 1,2,3.

2. Mountain Lion

An enclosure contained a solitary mountain lion who appeared distressed. The mountain
lion appeared to have severe difficulty vocalizing. When he attempted repeatedly to
growl, only a very faint sound emanated from his throat. It is possible that the mountain
lion is suffering from a respiratory or other illness. Video available upon request.

3. Goats

A small red open barn contained two severely lame goats. According to a zoo staff
member, both animals have hoof disease, a very painful yet treatable disease. Both goats
have a visibly difficult time attempting to walk even 25 feet, hobbling and faltering in
apparent pain. See photos 4,5.

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“*... proper shelter”

The condition of many of the buildings is poor and appears to pose a hazard to the
animals housed therein.

1. Bobcat

An enclosure contained a solitary bobcat. The enclosure was dilapidated and in need of
maintenance. There is a wooden ramp in the pen that is broken and that poses a physical
danger to the bobcat, should he fall while attempting to climb it. See photo 6.

2. Porcupine
An enclosure contained a solitary adult porcupine. The roof of the enclosure offers little
shelter from the sun and the elements. See photo 7.

3. Geese

An enclosure contained three geese. The only apparent shelter available to the geese
appeared to leave them exposed to the elements on two sides. In addition, the roof of this
small shelter appeared to be crumbling and in need of repair. See photo 8.

4. Alligators

Two small round (approximately 5 feet in diameter) tubs contained six alligators. The tub
that contained five baby alligators provided a small garbage container lid as the only
shade and shelter from the sun and the elements. The tub that contained a larger, older
alligator provided no shade and shelter at all. See photos 9,10.

5. Potbellied Pig
The small den inside the enclosure for the potbellied pig was constructed of decaying
wood.

6. Mountain Lion
The small den inside the enclosure for the mountain lion is beginning to rot and is in need
of repair. See photo 11.

7. Arctic Foxes
The small den inside the enclosure containing two Arctic foxes was dilapidated and in
need of repair. See photo 12.

8. Birds

Inside the green building called the “Reptile & Birds House’, there are numerous birds.
There was a live extension cord lying within reach of an African grey parrot contained in
a metal wired cage. The bird could easily reach through the cage with his or her mouth
and chew on the electrical cord, perhaps resulting in the electrocution of the bird and/or
the ignition of a fire. Please note that, according to a USDA inspection report performed
on 9/26/07, the zoo was cited for the following violation: “Pigtail macaque found dead
on 12/8/06. Owner and vet theorized that the animal had been electrocuted as evidenced
by a partially chewed and unplugged heat lamp cord. Employees failed to realize that the
macaque had access to the heat lamp cord.” The building also was dilapidated, cluttered
and in need of repair. See photos 13,14,15.

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9. Goats, Hens, Domestic Cats

There is a small red open barn which at the time contained goats, hens and domestic cats.
The interior of the barn appeared to present a potential fire hazard. There was a circuit
breaker panel without a panel cover, exposing electrical wires. The barn was filled from
floor to ceiling with easily combustible straw or hay. Please note that there was a fire at
the zoo on March 29, 2006, which killed about 100 reptiles, birds & monkeys, who were
all being confined in an indoor facility. The fire was resultant of a faulty electrical wire
which ignited the floor joists of the building. There is also a great deal of clutter in the
barn, including various types of equipment, machinery and sharp, rusty field tools (i.e.
shovels, hoes, rakes) that pose a possible hazard. See photos 16,17,18,19,20.

“... proper space”

1. Mountain Lion

It appeared that the pen enclosing the mountain lion did not provide sufficient space for
an animal of his size. The large mountain lion (roughly 175 pounds, 4 feet high and 5 feet
long) was confined to a round pen approximately 20 feet in diameter. The lack of
sufficient space surely plays a role in the animal’s distress and abnormal, stereotypical
behavior patterns as evidenced by his continuous pacing. See photo 11.

“.. nutritious food”

1. Potbellied Pig
In the enclosure that contained the solitary potbellied pig, the food receptacle was
infested with insects. See photo 21.

“,.. proper drink”

1. Mountain Lion
The drinking water container in the mountain lion’s enclosure was filthy and covered
with green algae. See photos 22,23.

2. Geese
The drinking water containers in the geese’s enclosure were filthy and covered with

green algae. See photos 24,25.

3. Llama, Alpaca, Mini Horse, Goats
An enclosure contained a llama, an alpaca, a mini horse and goats. The drinking water
container in the enclosure was filthy and covered with green algae. See photo 26.

4. Mini Donkey

An enclosure contained a mini donkey. The drinking water container in the enclosure was
filthy and covered with green algae. See photo 27.

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5. African Lion
The drinking water container in the African lion’s enclosure was filthy and covered with

green algae. See photo 28.

6. Snakes

Inside the green building called the “Reptile House & Birds”, there are numerous snakes.
Many of the snakes’ drinking water containers (which often doubled as their bathing
tubs) were filthy and covered with green algae. See photo 29.

Thank you for your time. I look forward to hearing from you as to what action your department
has taken. Of particular and immediate concern, is the condition of the potbellied pig, the goats
and the mountain lion. I can be reached at 202-483-7382.

Very truly yours,

Robert Ruderman
Captive Exotic Animal Specialist

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Zeynep Graves

From: Lisa Wathne

Sent: Monday, October 19, 2009 3:51 PM

To: Teresa Marshall

Subject: plz file: MD, Tri-State Zoo, USDA complaint
Importance: High

From: Lisa Wathne

Sent: Monday, October 19, 2009 3:43 PM
To: 'Betty.J.Goldentyer@aphis.usda.gov'
Cc: 'Robert.A.Willems@aphis.usda.gov'
Subject: Tri-State Zoo - # 51-C-0064
Importance: High

October 19, 2009

Dr. Elizabeth Goldentyer
Regional Director
USDA/APHIS/AC

920 Main Campus Dr., Ste. 200
Raleigh, NC 27606

Via e-mail: betty.j.goldentyer@usda.gov
Dear Dr. Goldentyer:

Please consider this letter an official request for the USDA to investigate the following at the Tri-State Zoological
Park of Western Maryland, license # 51-C-0064, in Cumberland, MD. Except as otherwise noted, the enclosed
photographs were taken at the Tri-State Zoological Park on October 9, 2009, and contain evidence of apparent
violations of the Animal Welfare Act (AWA) including:

Goats

Two goats who appeared to be severely lame were in the area of a small red open barn. Both goats had a visibly
difficult time attempting to walk and were hobbling and faltering in apparent pain. According to a zoo staff
member, both animals have “hoof disease”. If these animals are suffering from foot rot, it does not appear that they
are being properly treated for the problem since such treatment includes foot trimming and both goats’ feet appear to
be extremely overgrown [see photos: Goat 1-3].

If the goats are suffering from a genetic disorder, as claimed by the zoo’s owner to the Allegany County Animal
Control Department [see attached report dated 10/15/09 from Allegany County Animal Control Department], it’s

difficult to believe that foot trimming would not also be part of the appropriate course of treatment.

Please ensure that the goats’ foot condition has been properly diagnosed and that the animals have received
veterinary care, including pain relief, if necessary.

Pig

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An enclosure contained a solitary pig who appeared to have significant ocular discharge [see photos: Pig 1-3].

The small wooden den in the pig’s enclosure was in need of repair.

A photograph taken on October 15 by the Allegany County Animal Control Department depicts the pig’s food
receptacle in the middle of a mud puddle [see attached report dated 10/15/09 from Allegany County Animal Control
Department].

Please ensure that the pig has received veterinary care for the ocular discharge if necessary, that the pig’s shelter is
structurally sound and maintained in good repair, that her food receptacles are placed so as to minimize
contamination, and that her enclosure has a suitable method to rapidly eliminate excess water.

Cougar
A cougar who was housed in a corn crib enclosure appeared very distressed as evidenced by his/her continuous

pacing across the front of the enclosure.

Additionally, the cougar appeared to have difficulty vocalizing. This animal appeared to repeatedly attempt to
vocalize by fully opening his/her mouth, yet only a very faint sound emanated from his/her throat.

The only water container in the cougar’s enclosure contained water that was filthy and green [see photos: Cougar |
and 2].

Please determine whether the cougar is in need of veterinary care, ensure that his/her distressed behavior is not due
to the inadequate provision of space, and that he/she is provided with clean drinking water at all times.

African Lion

The enclosure containing the adult male African lion named Boo was constructed of what appeared to be cattle panel
and did not appear sufficient to safely contain the large lion [see photos: Lion | and 2]. Please note that the zoo has
been cited on at least three previous inspections for having fencing of insufficient strength for the lion enclosure -
see USDA inspection reports dated 9/26/07, 5/17/06, and 2/14/06.

The only water container in Boo’s enclosure contained water that was filthy and green [see photo: Lion 3].

Please ensure that Boo’s enclosure is constructed of materials sufficient to contain an animal of his size and strength
and that he is provided with clean drinking water at all times.

Drinking Water
The only water container 1n an enclosure with a miniature donkey contained water that was filthy and green [see
photos: Donkey 1 and 2].

The drinking water containers in a geese enclosure were filthy and one was green [see photos: Geese | and 2].

Inside a green building called the “Reptile & Birds House”, there were numerous snakes many of whom had single
water containers which were filthy [see photo: Snake 1].

Please note that although birds and reptiles are not covered by the AWA, we are providing this information as further
evidence of the substandard conditions at the Tri-State Zoological Park which also impact regulated species.

Please ensure that all animals are provided with clean drinking water at all times.

Barn

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The two lame goats mentioned previously, as well as domestic cats and chickens had access to a small red open barn.
A circuit breaker panel without a panel cover and with exposed electrical wires was on the wall of the barn. A shelf
undemeath the panel provided animals with easy access to the panel [see photos: Barn 1-5].

In addition, the barn contained a significant amount of hay which, at least in some areas, appeared to be stacked
directly on the ground, as well as a great deal of clutter including various types of equipment and tools such as
shovels, hoes, and rakes [see photos: Barn 6-9].

Please note that a fire at the zoo on March 29, 2006, killed approximately 100 animals.

Please ensure that buildings are kept clean and in good repair in order to protect the animals from injury and that
hay is stored in a manner to adequately protect it against deterioration, molding, or contamination by vermin.

Reptile & Birds House

Inside a green building called the “Reptile & Birds House”, an extension cord plugged into an electric heater was
lying on the floor between bird cages and underneath a wire cage containing an African grey parrot [see photos:
Reptile house 1-3].

Please note that although birds are not covered by the AWA, we are providing this information as further evidence of
the substandard conditions at the Tri-State Zoological Park which also impact regulated species especially since,
according to a USDA inspection report dated 9/26/07, on 12/8/06 a pigtail macaque was found dead, presumably
electrocuted by chewing on an extension cord.

Please ensure that enclosures and structures are maintained in a manner that protects the animals from injury and
that employees are trained in proper husbandry practices under adequate supervision.

Please pursue strict enforcement of the AWA at this facility.

Thank you for your time. I can be reached at 206-367-0228 or LisaW@peta.org.
Sincerely,

Lisa Wathne

Captive Exotic Animal Specialist

Attachments: 28 photographs taken at Tri-State Zoological Park, Oct. 9, 2009 (emailed
separately ) Allegany County Animal Control Department report, Oct. 15, 2009

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October 14, 2009

William G. Herbaugh
Fire Chief

City of Cumberland

57 North Liberty Street
Cumberland, MD 21502

Dear Fire Chief Herbaugh:

Please consider this letter an official request for the City of Cumberland Fire Department to
investigate potential fire hazards at the Tri-State Zoological Park in Cumberland, MD.

The following photographs, which were brought to our attention and taken at the Tri-State
Zoological Park on October 9, 2009, contain evidence of two potential fire hazards. Please be
aware that there may be more potential fire hazards on the premises considering that most of the
enclosures are constructed of wood that is presently decaying and decomposing, and possibly not
even treated with fire retardant.

Following are the two potential fire hazards that were observed on the zoo’s premises:

1. There is a small red open barn (to the right of the binturong enclosure) which at the time
contained goats, hens and domestic cats. The interior of this barn appeared to present a potential
fire hazard. There was a circuit breaker panel without a panel cover, exposing electrical wires.
The barn was filled from floor to ceiling with easily combustible straw or hay. Likely you are
aware of the fire at the zoo on March 29, 2006, which killed about 100 reptiles, birds &
monkeys, who were all being confined in an indoor facility. The fire was resultant of a faulty
electrical wire which ignited the floor joists of the building. See attached photos 1,2,3,4.

2. Inside the green building called the “Reptile & Birds House” (to the left of the Arctic fox
enclosure), there was a live extension cord lying within reach of an African grey parrot contained
in a metal wired cage. The bird could easily reach through the cage with his or her mouth and
chew on the electrical cord, perhaps resulting in the ignition of a fire. Please note that, according
to a USDA inspection report performed on 9/26/07, the zoo was cited for the following violation:
“Pigtail macaque found dead on 12/8/06. Owner and vet theorized that the animal had been
electrocuted as evidenced by a partially chewed and unplugged heat lamp cord. Employees
jailed to realize that the macaque had access to the heat lamp cord.” See attached photos
5,6,7,8.

Thank you for your time. I look forward to hearing from you as to what action your department
has taken. I can be reached at 202-483-7382 or at this email address.

Sincerely,

Robbie Ruderman

Captive Exotic Animal Specialist

People For The Ethical Treatment of Animals

PETA0000838
